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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               : Case No. 05-44481 (RDD)
DPH HOLDINGS CORP., et al.,                                    : (Post Confirmation)
                                                               :
         Reorganized Debtors,                                  :
                                                               :
---------------------------------------------------------------x
                                                               :
DELPHI CORPORATION, et al.,                                    :
                                                               :
                                    Plaintiffs,                : Adv. Pro. No. 07-02597 (RDD)
                                                               :
                               v.                              :
                                                               :
WELLS FARGO BUSINESS and WELLS                                 :
FARGO MINNESOTA                                                :
                                                               :
                                    Defendants.                :
--------------------------------------------------------------X

                STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all parties to this action, that, pursuant to Fed. R. Bankr. P. 7041 and Fed.

R. Civ. P. 41(a)(1)(ii) and subject to the order of this Court, the captioned adversary proceeding

is hereby dismissed with prejudice and without fees or costs to any party as against the other.


                              [Signatures appear on following page]




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    Signature Page to Stipulated Order of Dismissal With Prejudice between DPH Holdings
          Corp., et al., and Wells Fargo Business and Wells Fargo Minnesota Settling
             Claims Arising Under Sections 547 and 550 of the Bankruptcy Code

Dated: Detroit, Michigan                 DPH Holdings Corp., et al.
       December 3, 2012                  By their Attorneys,
                                         BUTZEL LONG, a professional corporation

                                         By: /s/ Cynthia J. Haffey
                                         Cynthia J. Haffey
                                         150 W. Jefferson, Suite 100
                                         Detroit, Michigan 48226




Dated: Uniondale, New York               Wells Fargo Bank, N.A. (named herein as
       December 3, 2012                  Wells Fargo Business and Wells Fargo Minnesota)
                                         By their Attorney,
                                         RUSKIN MOSCOU FALTISCHEK, P.C.

                                         By: /s/ Jeffrey A. Wurst
                                         Jeffrey A. Wurst
                                         East Tower, 15th Floor
                                         1425 RXR Plaza
                                         Uniondale, New York 11556-1425



SO ORDERED this 3rd day of December, 2012

_/s/Robert D. Drain_____________________
UNITED STATES BANKRUPTCY JUDGE




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